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    JENNIFER WITHERELL CRASTZ - SBN 185487
     Name ofROUSSO
    HEMAR,     Attorney/Filing Party LLP
                         & HEALD,
     Firm/Company     Name
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    Encino,    Line 1 91436
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     City, State, Zip
    Facsimile: (818) 501-2985
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     Attorneys for Movant,
     Verdant Commercial Capital, LLC


                                   UNITED STATES BANKRUPTCY COURT
                                    EASTERN DISTRICT OF CALIFORNIA

     In re:                                            Bankruptcy Case No.:        22-11907
                                                       Docket Control Number:      JWC-2
     FREON LOGISTICS
                                                       Hearing Information (if applicable):

                                                          Hearing Date:     January 10, 2023
                                                          Hearing Time:     9:30 a.m.
                                                          Location:         13 (DEPT. B)
                                       Debtor(s)          Judge:            Hon. Rene Lastreto II

     N/A                                               Adversary Proceeding No. (if applicable): N/A
                                                       Docket Control Number:

                                                       Hearing Information (if applicable):
                                       Plaintiff(s)
     v.                                                   Hearing Date:
                                                          Hearing Time:
                                                          Location:
                                                          Judge:

                                     Defendant(s)



                                          CERTIFICATE OF SERVICE OF
          SUMMARY  OF DOCUMENTS
           MOTION FOR RELIEF FROMSERVED (EX: MOTION
                                  THE AUTOMATIC     FOR
                                                 STAY   RELIEF FROM
                                                      [PERSONAL     STAY AND
                                                                 PROPERTY];   SUPPORTING
                                                                            SUPPORTING
                                           PLEADINGS)
                                           DOCUMENTS


                      CUMENTS SERVED (EX: MOTION FOR RELIEF FROM STAY AND SUPPORTING




                                                            1
    EDC Form 7-005, Rev. 10/22
Filed 12/05/22                                                   Case 22-11907                                                                  Doc 192
    I, the undersigned, certify and declare:

    1.    Personal knowledge. I am over the age of 18 years and not a party to the above-entitled case.

    2.    Status          an attorney of record in this case/adversary proceeding, or     trustee, or   my business/employer is
                                                                            or
          15910 Ventura Blvd., 12th Floor, Encino, CA 91436
          __________________________________________________________________________________________.

    3.    About the Case/Proceeding. (Check at least one type of case/proceeding and as many subheadings thereunder as applicable.)
          Chapter 7 case (indicate below if subject to limited noticing;       Chapter 12 or 13 case (indicate below if subject to limited
          check all that are applicable.)                                      noticing; check all that are applicable.)

             Rule 2002(h) Limited Noticing. Fed. R. Bankr. P.                     Rule 2002(h) Limited Noticing. This case is subject to limited
             2002(h); LBR 2002-3. (Check all that are applicable.)                noticing because at least 70 days have elapsed since the
                                                                                  order for relief. Fed. R. Bankr. P. 2002(h); LBR 2002-3.7.

                One of the following applies: (1) This is a voluntary             Rule 3015(h) Limited Noticing (post-confirmation plan
                asset case and at least 70 days have elapsed since                modification only). This case is subject to limited noticing
                the order for relief; (2) This is an involuntary asset            because the debtor(s) has confirmed at least one plan and
                case and at least 90 days have elapsed since the                  the modified plan filed herewith neither lengthens the term
                order for relief; (3) This is a no asset case and at              of, nor diminishes the dividend due general unsecured
                least 90 days have elapsed since the mailing of the               creditors, from the most recently confirmed plan. Fed. R.
                notice of time for filing claims under Fed. R. Bankr. P.          Bankr. P. 3015(h); LBR 3015-1(d)(3).
                3002(c)(5).

                This case is subject to an order limiting service. Fed.           This case is subject to an order limiting service. Fed. R.
                R. Bankr. P. Rule 2002(m). The order limiting service             Bankr. P. 2002(m). The order limiting service is docketed at
                is docketed at ECF no.____.                                       ECF no ____.
          Chapter 9 case (indicate below if subject to limited noticing)       Chapter 11 case (indicate below if subject to limited noticing)

             This case is subject to an order limiting service. Fed. R.           This case is subject to limited noticing because one or more
             Bankr. P. 2002(m). The order limiting service is docketed            creditors/equity holders committees have been appointed.
             at ECF no.____.                                                      Fed. R. Bankr. P. 2002(i); LBR 2002-4.

                                                                                  This case is subject to an order limiting service. Fed. R.
                                                                                  Bankr. P. 2002(m). The order limiting service is docketed at
                                                                                  ECF no.____.

          Chapter 15 case                                                      Adversary Proceeding

    4.    About the Documents Served
    On _________________,
       December 5         20____,
                            22 by the method(s) specified below, the following documents were served (list in space provided):

    1) NOTICE OF HEARING; 2) MOTION FOR RELIEF FROM STAY [PERSONAL PROPERTY]; 3) DECLARATION OF CHRIS KELLEY
    IN SUPPORT THEREOF; 4) DECLARATION OF JENNIFER WITHERELL CRASTZ; 5) EXHIBITS 1 THRU 6 TO THE DECLARATION
    OF CHRIS KELLEY IN SUPPORT; 6) RELIEF FROM STAY INFORMATION SHEET


    or      those documents described in the list appended hereto and numbered Attachment 4.
    5.         Who is Being Served
               Unless otherwise indicated below, all indicated parties below have received all documents described in Section 4.
           Debtor(s)                                                           All creditors and parties in interest (Notice of Hearing only)
           Debtor’s attorney(s)                                                Only creditors that have filed claims (Notice of Hearing only)
           Trustee                                                             All creditors and parties in interest
           U.S. Trustee                                                        Fewer than all creditors (check at least one below)
           Attorneys of record who have appeared in the Bankruptcy                 Creditors that have filed claims
         ….Case, the Adversary Proceeding, or contested matter.
           Plaintiff(s)
           Defendant(s)
                                                                           …..    been assumed
            Attorney for committee members

            Persons who have filed a Request for Notice                              party(ies) in interest


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    6.        How Service is Accomplished

         A.         Rule 7004 Service. (Check at least one, if applicable.)
               1.         First Class Mail
                     Service was effected on those persons listed on the attachment by placing a true and correct copy of the
                     document(s) served in a sealed envelope, first class mail, postage prepaid in the United States Postal Service
                     (or in a place designated by the law firm or trustee for outgoing mail prior to the last regular pick up of outgoing
                     mailing for the day) for each of the persons listed below. Fed. R. Bankr. P. 7004(b); 7004(g). A list of the
                     persons served, including their name/capacity to receive service, and address is appended hereto and
                     numbered Attachment 6A1.
               2.         Certified Mail
                     Service was effected on those persons listed on the attachment by placing a true and correct copy of the
                     document(s) served in a sealed envelope, certified mail, postage prepaid in the United States Postal Service (or
                     in a place designated by the law firm or trustee for outgoing mail prior to the last regular pick up of outgoing
                     mailing for the day) for each of the persons indicated below. Fed. R. Bankr. P. 7004(h). A list of the persons
                     served, including their name/capacity to receive service, and address is appended hereto and numbered
                     Attachment 6A2.
               3.        Publication
                     Service was effected by publication as ordered by the court and docketed at ECF no.____. Fed. R. Bankr. P.
                     7004(c). Attestation(s) as to the manner and form of such publication is appended hereto and numbered
                     Attachment 6A3.
         B.                               7005, 9036 Service (Check at least one, if applicable.)
               1.
                     Service on those parties in interest, listed below, will be effected by filing those documents, listed above, with
                     the Clerk of the Court. Fed. R. Bankr. P. 9036, 7005; Fed. R. Civ. P. 5(b). Electronic service on registered users
                     of the electronic filing system is not permitted for pleadings or papers that must be served in accordance with

                     proceeding is appended hereto and numbered Attachment 6B1.
               2.
                     Service on those parties, listed below, was effected by placing a true and correct copy of the document(s)
                     served in a sealed envelope, first class mail, postage prepaid in the United States Postal Service (or in a place
                     designated by the law firm or trustee for outgoing mail prior to the last regular pick up of outgoing mailing for the
                     day) for each of the persons indicated below. Fed. R. Civ. P. 5(b)(2)(c); Fed. R. Bankr. P. 9014.
                     a.   Parties in interest

                                 applicable to this case and/or adversary proceeding is appended hereto and numbered Attachment
                                 6B2. Such list shall be downloaded not more than seven days prior to the date of filing of the pleadings
                                 and other documents and shall reflect the date of downloading. WARNING: If “raw data format” of the


                                 not served. Such list shall be downloaded not more than seven days prior to the date of filing of the
                                 pleadings and other documents and shall reflect the date of downloading.
                                 List
                                 fewer parties in interest, parties may (but need not) use a service list. A copy of the custom service list
                                 is appended hereto and numbered Attachment 6B2.
                     b.          Request for Special Notice List.
                                 a Request for Special Notice is appended hereto and numbered Attachment 6B3.
                     c           Other Parties in Interest Checked in Section 5. A list of the named and addresses of other parties
                                 in interest served (if checked in section 5 above) is appended hereto and numbered Attachment 6B4.
               3.
                     Specify the means of delivery. Fed. R. Civ. P. 5 (b)(2) (A)-(F). A list of those persons so served and the
                     addresses at which they are served is appended hereto and numbered Attachment 6B5.




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    7.        Who Accomplished Service

         A.    Attorney/Trustee (Check as many as apply)
                   Rule 7004 Service                                             Rule 5 Service
                       § 6A(1): First Class Mail                                     § 6B(1): Elec. Service on Registered e-Filers
                       § 6A(2): Certified Mail                                       § 6B(2)(a): U.S. Mail
                       § 6A(3): Publication                                          § 6B(2)(b): Request for Special Notice
                                                                                     § 6B(2)(c): Other Parties in Interest § 5
                                                                                     § 6B(3): Other Methods of Service

         B.    Third Party Service Provider (Check as many as apply)
                   Rule 7004 Service                                             Rule 5 Service
                       § 6A(1): First Class Mail                                     § 6B(1): Elec. Service on Registered e-Filers
                       § 6A(2): Certified Mail                                       § 6B(2)(a): U.S. Mail
                       § 6A(3): Publication                                          § 6B(2)(b): Request for Special Notice
                                                                                     § 6B(2)(c): Other Parties in Interest § 5
                                                                                     § 6B(3): Other Methods of Service


    Attorney/Trustee (includes regularly employed staff members):

    I swear under penalty of perjury that: (1) the representations in Sections 1-5 hereof are true and correct; and (2) I served those parties
    in interest marked in Section 7A in the manner set forth in the referenced portion of Section 6.

                   December 5                            22          Encino                                 CA
                                                                     City                                 State
    _______________________________
    JENNIFER WITHERELL CRASTZ                                        _________________________________
                                                                     /s/ Jennifer Witherell Crastz
    Print Name                                                       Signature


    Third Party Service Provider (if applicable):

    I am over the age of 18 years and not a party to the above-entitled case. I swear under penalty of perjury that I served those parties in
    interest marked in Section 7B in the manner set forth in the referenced portion of Section 6.


                     NOTAPPLICABLE
                                                                     City                                 State
    _______________________________                                  _________________________________
    Name                                                             Signature
    _______________________________
    Company Name
    _______________________________
    Address
    _______________________________
    City          State   Zip Code




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          1                                           Attachment 6B2
          2                           (List Other Than the Clerk’s Matrix of Creditors)

          3      Debtor
                 Freon Logistics
          4      8200 North Laurelglen Blvd.
                 No. 1906
          5      Bakersfield, CA 93311
          6
                 Debtors’ Attorney
          7      Leonard K. Welsh
                 Law Offices of Leonard K. Welsh
          8      1800 30th Street, Fourth Floor
                 Bakersfield, CA 93301
          9
         10      Office of the U.S. Trustee
                 Office of the U.S. Trustee
         11      Attn: Tracy Hope Davis/Jorge A. Gaitan
                 United States Courthouse
         12      501 I St #7-500
                 Sacramento, CA 95814
         13

         14                              TWENTY LARGEST UNSECURED CREDITORS

         15      American Express                                  Jerry & Keith, Inc.
                 Three World Financial Center                      P.O. Box 10357
         16      200 Vesey Street                                  2814 Landco Drive
                 New York, NY 10285                                Bakersfield, CA 93314
         17

         18      Pilot                                             MCT Companies
                 5500 Lonas Drive, Suite 260                       13986 Valley Ridge Drive
         19      Knoxville, TN 37909                               Omaha, NE 68138
         20      Corcentric LLC                                    Pape Kenworth
         21      200 Lake Drive East, Suite 200                    P.O. Box 351444
                 Cherry Hill, NJ 08002                             Seattle, WA 98124
         22
                 Valley Pacific                                    Bakersfield Truck Center
         23      152 Frank West Circle, Ste. 100                   P.O. Box 80057
                 Stockton, CA 95206                                Bakersfield, CA 93380
         24

         25      Interstate Billing Services                       Color Coat Restoration, Inc.
                 2114 Veterans Drive SE                            5601 Rosedale Highway, Suite B
         26      Decatur, AL 35601                                 Bakersfield, CA 93308

         27      Loves Travel Stops                                Kern County Treasurer and Tax Collector
                 P.O. Box 842568                                   1115 Truxtun Avenue, Second Floor
         28      Kansas City, MO 64184                             Bakersfield, CA 93301

                                                               5
                                                          SERVICE LIST
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          1
                 Balwinder Singh
          2      c/o Inderraj Singh, Esq.
                 1706 Chester Avenue, Suite 412
          3
                 Bakersfield, CA 93301
          4
                 Wex Fleetone
          5      152 Frank West Circle, Ste. 100
                 Stockton, CA 95206
          6

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          1                                           Attachment 6B3
          2                                      (Request for Special Notice)

          3      Attorney for Creditor M&T Capital and Leasing Corporation
                 f/k/a People’s Capital and Leasing Corp.
          4      Kevin J. McEleney
                 Updike, Kelly & Spellacy, P.C.
          5      225 Asylum Street, 20th Floor
          6      Hartford, CT 06103

          7      Attorneys for Creditors (1) Commercial Credit Group; (2) Ascentium Capital LLC
                 Andrew K. Alper
          8      Frandzel Robins Bloom & Csato, L.C.
                 1000 Wilshire Boulevard, Nineteenth Floor
          9      Los Angeles, California 90017-2427
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                 Attorneys for ReefCo, LLC dba MCT Companies
         11      Charles F. Whitman
                 BUCHALTER, APC
         12      655 W. Broadway, Suite 1600
                 San Diego, CA 92101
         13

         14      Attorneys for Fruitvale Financial, LLC
                 Lauren A. Rode
         15      Griffith & Thornburgh, LLP
                 8 East Figueroa Street, Suite 300
         16      Santa Barbara, CA 93101
         17
                 Attorneys for TBK Bank, SSB
         18      Matthew J. Olson / Rachel P. Stoian
                 Dorsey & Whitney LLP
         19      167 Hamilton Avenue, Suite 200
                 Palo Alto, CA 94301
         20
                 Attorneys for PACCAR Financial Corp.
         21
                 Thomas G. Mouzes
         22      Boutin Jones Inc.
                 555 Capitol Mall, Suite 1500
         23      Sacramento, CA 95814
         24      Attorneys for Western Truck Parts & Equipment Company
         25      Raymond A. Policar
                 Law Offices of Raymond A. Policar
         26      Post Office Box 74093
                 Davis, CA 95617-5093
         27

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          1      Attorneys for Ryder Truck Rental, Inc.
                 Steven T. Gubner / Talin Keshishian
          2      BG Law LLP
                 21650 Oxnard Street, Suite 500
          3
                 Woodland Hills, CA 91367
          4
                 Bankruptcy Servicer for Ally Bank
          5      Arvind Nath Rawal, Claims Processor
                 AIS Portfolio Services, LLC
          6      4515 N Santa Fe Ave. Dept. APS
                 Oklahoma City, OK 73118
          7

          8      Attorneys for Indigo Commercial Funding, LLC
                 Brian S. Healy
          9      Tierney, Watson & Healy, APC
                 48 Gold Street, Fl 1
         10      San Francisco, California 94133
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                 Attorneys for Wells Fargo Equipment Finance Inc.
         12      Marsha A. Houston
                 Christopher O. Rivas
         13      Reed Smith LLP
                 355 South Grand Avenue, Suite 2900
         14      Los Angeles, CA 90071
         15
                 Attorneys for Movant, Trans Lease, Inc.
         16      Randall P. Mroczynski
                 Cooksey, Toolen, Gage, Duffy & Woog
         17      535 Anton Boulevard, Tenth Floor
                 Costa Mesa, California 92626-1977
         18

         19      Attorneys for Mitsubishi HC Capital America Inc.
                 Holly J. Nolan
         20      Solomon, Grindle, Lidstad & Wintringer, APC
                 11512 El Camino Real, Suite 360
         21      San Diego, California 92130
         22
                 Attorneys for Continental Bank
         23      Brett H. Ramsaur
                 Ramsaur Law Office
         24      27025 Cabot Road, Suite 110
                 Laguna Hills, California 92653
         25
                 Attorneys for BMO Harris Bank N.A.
         26
                 Paul F. Ready
         27      Farmer & Ready, ALC
                 1254 Marsh Street
         28      San Luis Obispo, California 93401

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          1
                 Attorneys for E.M. Tharp, Inc.
          2      Riley C. Walter
                 Wanger Jones Helsley
          3
                 265 East River Park Circle, Ste. 310
          4      Fresno, California 93720

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